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Dear, your honor,

My name is Konnor Holdren and Mark Holdren is my dad. I have a very good relationship with
him. We would spend every other weekend together before he was arrested and we would
always go out and go bowling and have any fun in any sort of way that we could do.

I understand that he made a mistake and I don’t think he should have made the choices that he
did. I do believe that my dad is sorry for what he has done and I also feel like he is sorry for the
pain that he caused our family. My sister cries all the time and I try to stay tough for her and my
G-Maw. I try to be the man of the house that my dad asked me to be but I don't think I can
without him.

I have watched my own father drive 5 hours to go help one of our family friends that was broke
down on the side of the road. I have watched him get many people that he knew jobs and get
them off of the streets and into better health and care. I have also watched him spend his last 5
dollars to see a smile on my face. He would always put family first no matter the situation we
was in. That is what made him such a great man, one that I look up to.

Me and my dad would always have so much fun when I was up at his house every other
weekend. When I was up there we would go bowling, we both got really good at that. We would
always have fun when we would be hunting because he taught me how to be a good hunter and
how to be quiet and not make a lot of noise.

My dad wants to be a better man for my sister and my G-Maw, and even for me. He talks on the
phone about how he wishes he could go back and make different choices. All I ask is that you
try to forgive my dad like I did. Let him come fishing and hunting with me again. I want him to
watch me graduate like he was able to watch my sister. I miss my dad.

Thank you,
Konnor Holdren
